        Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 1 of 31




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------x

UNITED STATES OF AMERICA                        :

     - v. -                                     :
                                                           23 Cr. 10 (AS)
AVRAHAM EISENBERG,                              :

          Defendant.                            :

---------------------------------x




 MOTION TO EXCLUDE PROPOSED TESTIMONY OF JEREMY SHERIDAN AND
                      JOHN MONTGOMERY




                                                    DAMIAN WILLIAMS
                                                    United States Attorney
                                                    Southern District of New York
                                                    One St. Andrews Plaza
                                                    New York, New York 10007


     Thomas Burnett
     Peter J. Davis
     Assistant United States Attorneys

     Tian Huang
     Special Assistant United States Attorney
     - Of Counsel -
              Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 2 of 31



`
                                                   TABLE OF CONTENTS




PRELIMINARY STATEMENT .....................................................................................................1

BACKGROUND .............................................................................................................................1

LEGAL STANDARD ......................................................................................................................3

ARGUMENT ...................................................................................................................................5

I.      THE COURT SHOULD EXCLUDE MR. SHERIDAN’S PROPOSED TESTIMONY. ......5

         A. Testimony About the Protocol Designers’ Intent Is Inadmissible State-of-Mind
         Testimony and Outside Mr. Sheridan’s Expertise.................................................................5

         B. Opinions about Whether the Defendant’s Trades Were “Prohibited” or Constituted a
         “Code Violation,” Are Irrelevant, Inadmissible, and Not Properly Expert Testimony.........8

         C. Testimony about the Defendant’s “Strategic Utilization of Market Mechanics” Is
         Impermissible State-of Mind Testimony .............................................................................11

         D. Mr. Sheridan’s Irrelevant Victim Blaming Is Impermissible..........................................12

II.     THE COURT SHOULD EXCLUDE DR. MONTGOMERY’S PROPOSED
        TESTIMONY. ......................................................................................................................16

         A. Testimony About “Conventional” Futures and Swaps Is Irrelevant and Impermissible 16

         B. Testimony About the “Artificiality” of Mango Perpetual Prices and “Fundamental
         Value” of MNGO Usurps the Jury’s Role and Is Impermissible ........................................18

         C. Testimony About the Intent of Traders in Financial Markets to Conceal Their Trading
         Strategies Is Impermissible .................................................................................................22

         D. Testimony About Privately Issued U.S. Dollar-Denominated Instruments Is Confusing
         and Irrelevant .......................................................................................................................23

CONCLUSION ..............................................................................................................................25




                                                                       ii
               Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 3 of 31



`
                                                  TABLE OF AUTHORITIES
                                                                                                                                       Page(s)

Cases

Amorgianos v. National Railroad Passenger Corp.,
  303 F.3d 256 (2d Cir. 2002) ........................................................................................................ 5
AU New Haven, LLC v. YKK Corp.,
  No. 15 Civ. 3411 (GHW), 2019 WL 1254763 (S.D.N.Y. Mar. 19, 2019) .............................. 6, 7
Bd. of Trs. of AFTRA Ret. Fund v. JPMorgan Chase Bank,
  No. 9 Civ. 686 (SAS), 2011 WL 6288415 (S.D.N.Y. Dec. 15, 2011) ........................................ 4
Bickerstaff v. Vassar College,
  196 F.3d 435 (2d Cir. 1999) ...................................................................................................... 21
City of Provid., R.I. v. Bats Glob. Mkts.,
  No. 14 Civ. 2811 (JMF), 2022 WL 902402 (S.D.N.Y. Mar. 28, 2022) ...................................... 4
Daubert v. Merrell Dow Pharms.,
  509 U.S. 579 (1993) ................................................................................................................ 4, 5
Deutsch v. Novartis Pharms. Corp.,
  768 F. Supp. 2d 420 (E.D.N.Y. 2011) ......................................................................................... 7
Gen. Elec. Co. v. Joiner,
  522 U.S. 136 (1997) ........................................................................................................ 5, 20, 22
Gurary v. Winehouse,
  190 F.3d 37 (2d Cir. 1999) ........................................................................................................ 20
Hygh v. Jacobs,
  961 F.2d 359 (2d Cir. 1992) ................................................................................................ 10, 17
In re Elysium Health ChromaDex Litig., 17 Cv. 7394 (LJL),
  b. 11, 2022) .................................................................................................................................. 8
In re Fosamax Prods. Liability Litig.,
  645 F. Supp. 2d 164 (S.D.N.Y. 2009) ................................................................................... 7, 12
In re Initial Pub. Offering Sec. Litig.,
  174 F. Supp. 2d 61 (S.D.N.Y. 2001) ......................................................................................... 10
In re Rezulin Prods. Liability Litig.,
  309 F. Supp. 2d 531 (S.D.N.Y. 2004) ................................................................................ passim
Kewazinga Corp. v. Microsoft Corp.,
  No. 18 Civ. 4500 (GHW), 2021 WL 4066597 (S.D.N.Y. Sept. 1, 2021) ................................... 4
Lamarr-Arruz v. CVS Pharmacy, Inc.,
  No. 15 Civ. 4261 (JGK), 2017 WL 4277188 (S.D.N.Y. Sept. 26, 2017).................................. 21
LinkCo, Inc. v. Fujisu Ltd.,
  No. 00 Civ. 7242 (SAS), 2002 WL 1585551 (S.D.N.Y. July 16, 2002) ........................... 7, 8, 13
Marx & Co., Inc. v. Diners’ Club Inc.,
  550 F.2d 505 (2d Cir. 1977) ...................................................................................................... 17
Nimely v. City of New York,
  414 F.3d 381 (2d Cir. 2005) ........................................................................................................ 5


                                                                       iii
               Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 4 of 31



`
Red Rock Commodities, Ltd. v. Standard Chartered Bank,
  140 F.3d 420 (2d Cir. 1998) ...................................................................................................... 10
Reed Constr. Data v. McGraw-Hill Co.,
  49 F. Supp. 3d 385 (S.D.N.Y. 2014) ......................................................................................... 21
SEC v. Vali Management Partners,
  No. 21-453, 2022 WL 2155094 (2d Cir. 2022) ..................................................................... 9, 20
Set Capital LLC v. Credit Suisse Group AG,
  996 F.3d 64 (2d Cir. 2021) ........................................................................................................ 20
United States v. Ahmed,
  No. 14 Cr. 277 (DLI), 2016 WL 8732355 (E.D.N.Y. June 24, 2016) ....................................... 15
United States v. Amico,
  486 F.3d 764 (2d Cir. 2007) ...................................................................................................... 14
United States v. Bilzerian,
  926 F.2d 1285 (2d Cir. 1991) .............................................................................................. 10, 19
United States v. Chastain, No. 22 Cr. 305 (JMF), 2023 WL 2966643 (S.D.N.Y. Apr. 17, 2023)
  ............................................................................................................................................. 18, 19
United States v. Frenkel,
  682 F. App’x 20 (2d Cir. 2017) ................................................................................................. 14
United States v. Isola,
  548 F. App’x 723 (2d Cir. 2013) ............................................................................................... 14
United States v. James,
  607 F. Supp. 3d 246 (E.D.N.Y. 2022) ....................................................................................... 14
United States v. Lesniewski,
  No. 11 Cr. 1091 (VM), 2013 WL 3776235 (S.D.N.Y. July 12, 2013) ...................................... 15
United States v. Mendlowitz,
  No. 17 Cr. 248 (VSB), 2019 WL 6977120 (S.D.N.Y. Dec. 20, 2019) ........................................ 8
United States v. Nekritin,
  No. 10 Cr. 491 (KAM), 2011 WL 2462744 (E.D.N.Y. June 17, 2011) .................................... 15
United States v. Newkirk,
  684 F. App’x 95 (2d Cir. 2017) ................................................................................................... 8
United,
  States v. Rahman, 189 F.3d 88 (2d Cir. 1999)........................................................................... 13
United States v. Rutigliano,
  614 F. App’x 542 (2d Cir. 2015) ............................................................................................... 15
United States v. Scop,
  846 F.2d 135 (2d Cir. 1988) ...................................................................................................... 18
United States v. Thomas,
  377 F.3d 232 (2d Cir. 2004) ...................................................................................................... 14
United States v. Udeokoro,
  No. 17 Cr. 629 (AMD), 2023 WL 4138477 (E.D.N.Y. June 22, 2023) .................................... 15
United States v. Weaver,
  860 F.3d 90 (2d Cir. 2017) ........................................................................................................ 14
United States v. Lumpkin,
  192 F.3d 28 (2d Cir. 1999) ........................................................................................................ 19

                                                                         iv
              Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 5 of 31



`
Wills v. Merada Hess Corp.,
 379 F.3d 32 (2d Cir. 2004) ........................................................................................................ 21

Rules

Fed. R. Evid. 702 .................................................................................................................. 3, 5, 23
Fed. R. Evid. 704 .............................................................................................................. 11, 12, 23




                                                                     v
          Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 6 of 31




                                PRELIMINARY STATEMENT

       Avraham Eisenberg, the defendant, orchestrated a scheme to drain over $110 million of

cryptocurrency from the Mango Markets platform. He did so by selling himself a massive

“Perpetual” on Mango Markets, manipulating the price of those Perpetuals by artificially inflating

the price of MNGO relative to USDC, and then lying about his intent to repay, to pay interest, and

the value of his collateral to fraudulently obtain cryptocurrency from the platform.

       Eisenberg has disclosed his intention to call two expert witnesses. The first, Jeremy

Sheridan, will speculate about Eisenberg’s state of mind during his scheme and the intent of the

Mango Markets protocol designers. This testimony attempts to shift responsibility from Eisenberg

to Mango Markets, blaming Mango Markets for not anticipating and stopping his crime. The

second, Dr. John Montgomery, steps into the judge’s and the jury’s shoes: He seeks to intrude on

this Court’s instructions defining a “swap” with testimony about what qualifies as a “conventional”

swap, and to intrude on the jury’s job to decide whether Eisenberg created an “artificial” price.

       This proposed expert testimony is not proper and will confuse and mislead the jury. As an

initial matter, blaming the victim is not a defense to the charged crimes, and no expert can opine

on the intent of the defendant or third parties—it is the jury’s job to determine intent. In the same

way, no expert can intrude on the role of the Court to explain the law and of the jury to apply the

law to the facts. Further, testimony about irrelevant economic concepts will only distract the jury

from the factual issues in this trial. A jury must decide whether the defendant’s conduct was

commodities fraud, commodities manipulation, and wire fraud. Testimony from both experts

should therefore be precluded in its entirety, or, at a minimum, strictly curtailed.

                                         BACKGROUND

       On January 9, 2023, a Grand Jury in the Southern District of New York returned an

indictment charging the defendant with commodities fraud, in violation of Title 7, United States
          Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 7 of 31



`
Code, Sections 9(1) and 13(a)(5) and Title 17, Code of Federal Regulations, Section 180.1;

commodities manipulation, in violation of Title 7, United States Code, Section 13(a)(2); and wire

fraud, in violation of Title 18, United States Code, Sections 1343 and 2. As outlined in the

Government’s motions in limine, Dkt. No. 77, these charges arise from the defendant’s fraudulent

scheme to steal over $110 million worth of cryptocurrency from Mango Markets customers.

       On October 30, 2023, the defendant provided his initial expert notice, which is attached as

Exhibit A and in which the defendant identified two experts he may call during trial: Mr. Sheridan

and Dr. Montgomery. On January 12, 2024, the defendant provided a supplemental disclosure of

opinions that these experts intend to offer (the “Expert Notice”), which is attached as Exhibit B.

       According to the Expert Notice, if allowed by the Court, Mr. Sheridan, a former law

enforcement officer with no background in Mango Markets, intends to opine that protocol

designers intend “to, in some instances, enable conduct, and in others, prevent it.” (Expert Notice

at 2.) He then will essentially offer a closing argument that walks the jury through Mango Markets

documents and states, in multiple ways, that defendant’s trades were “not prohibited” by the

Mango Markets protocol and did not require manipulating Mango Markets code. (Id. at 2-3.)

Further, he will opine that Mango Markets had no terms of services at the time—“it only gave a

warning to users.” (Id. at 2.) In offering those opinions, Mr. Sheridan intends to provide

“background testimony” on the creation of the Mango Markets protocol, changes to the protocol

over time, and how the pricing oracles operation was publicly known. (Id.)

       This culminates in an opinion that transparently blames the victims for the defendant’s

scheme and recasts the defendant’s intent as a heroic effort to “highlight[] systematic

vulnerabilities” on Mango Markets and opines that “[l]osses were a natural consequence” of the


                                                 2
          Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 8 of 31



`
MNGO token. (Id. at 3.) To get there, Mr. Sheridan intends to speculate about the defendant’s

intent, hoping to explain how the trading “brought to light the significant impact of low liquidity

of certain tokens” and conduct a reading of the Mango Market’s protocol; a “security audit”

prepared by a third party; and the Mango Markets’ Litepaper. (Id. at 3-5.) To the extent Mr.

Sheridan puts any of his own gloss on these third-party documents, he does so to shift the blame

from Eisenberg to Mango Market’s “absence of robust risk management and governance

frameworks.” (Id. at 5.)

       Dr. Montgomery, for his part, intends to usurp the role of the jury and offer an opinion—

without any hint of analysis— on the ultimate question of whether the price of MNGO Perpetuals

on October 11, 2022 was artificial. (Id. at 7-8.) He then gives improper opinions that range from

instructing the jury on a legal concept—the definition of a swap—to economic ideas that appear

to have no relevance to speculating about the intent of traders in financial markets. (Id.)

                                      LEGAL STANDARD

       Federal Rule of Evidence 702 provides that a “witness who is qualified as an expert by

knowledge, skill, experience, training, or education” may offer an opinion if “the expert’s

scientific, technical, or other specialized knowledge will help the trier of fact to understand the

evidence or to determine a fact in issue,” and the testimony is the product of reliable facts and

methods that the expert has reliably applied to the case. Fed. R. Evid. 702. Districts courts play a

“gatekeeping role” to “ensur[e] that an expert’s testimony both rests on a reliable foundation and

is relevant to the task at hand.” Daubert v. Merrell Dow Pharms., 509 U.S. 579, 597-80 (1993).

       The first requirement—that the “expert’s scientific, technical, or other specialized

knowledge will help the trier of fact to understand the evidence or to determine a fact in issue”—


                                                 3
          Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 9 of 31



`
serves a dual purpose. First, it “ensures that expert witnesses will not testify about lay matters”

that are properly left for the jury, such as “interpretations of conduct or views as to the motivation

of parties.” In re Rezulin Prods. Liability Litig., 309 F. Supp. 2d 531, 541 (S.D.N.Y. 2004).

Interpretations of certain actions and inferences about “the intent or motive” of an individual “lie

outside the bounds of expert testimony.” Id. at 547; see, e.g., Kewazinga Corp. v. Microsoft Corp.,

No. 18 Civ. 4500 (GHW), 2021 WL 4066597, at *15 (S.D.N.Y. Sept. 1, 2021) (“Expert opinions

about beliefs, intents, or motives are inadmissible.”); Bd. of Trs. of AFTRA Ret. Fund v. JPMorgan

Chase Bank, No. 9 Civ. 686 (SAS), 2011 WL 6288415, at *8 (S.D.N.Y. Dec. 15, 2011)

(“[O]pinions concerning state of mind are an inappropriate topic for expert opinion.”).

       Second, even testimony that is properly based on scientific, technical, or specified

knowledge must “‘fit’ . . . the facts of the case.” City of Provid., R.I. v. Bats Glob. Mkts., No. 14

Civ. 2811 (JMF), 2022 WL 902402, at *8 (S.D.N.Y. Mar. 28, 2022) (quoting Daubert, 509 U.S.

at 591). This requires the expert testimony to stay in bounds: The testimony must be directly

pertinent to an issue that the jury has to resolve, but it must not “usurp either the role of the trial

judge in instructing the jury as to the applicable law or the role of the jury in applying that law to

the facts before it.” United States v. Lumpkin, 192 F.3d 280, 290 (2d Cir. 1999) (internal citation

omitted); accord Rezulin Prods., 309 F. Supp. 2d at 541.

       Rule 702 also requires that the proffered expert testimony “is the product of reliable

principles and methods,” and “reflects a reliable application of the principles and methods to the

facts of the case.” Fed. R. Evid. 702; accord Daubert, 509 U.S. at 593-94. The Court is not

required “to admit opinion evidence that is connected to [the facts] only by the ipse dixit of the

expert.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). “[W]hen an expert opinion is based


                                                  4
          Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 10 of 31



`
on data, a methodology, or studies that are simply inadequate to support the conclusions reached,

Daubert and Rule 702 mandate the exclusion of that unreliable opinion testimony.” Amorgianos

v. National Railroad Passenger Corp., 303 F.3d 256, 266 (2d Cir. 2002).

        Expert testimony may also be excluded under Federal Rules of Evidence 402 and 403 if it

is irrelevant or its probative value is “substantially outweighed by a danger of . . . unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence.” Rule 403 has a “uniquely important role . . . in a district court’s scrutiny of

expert testimony, given the unique weight such evidence may have in a jury’s deliberation.”

Nimely v. City of New York, 414 F.3d 381, 397 (2d Cir. 2005).

                                            ARGUMENT

    I. THE COURT SHOULD EXCLUDE MR. SHERIDAN’S PROPOSED
         TESTIMONY.
        Mr. Sheridan’s testimony violates many of the fundamental rules governing expert

testimony. If allowed, he intends to speculate about third parties’ intent, including the defendant

himself, and then offer an impermissible blame-the-victim defense. What is more, much of his

purported analysis is not expert analysis in any sense. This testimony should be precluded.

        A.     Testimony About the Protocol Designers’ Intent Is Inadmissible State-of-
               Mind Testimony and Outside Mr. Sheridan’s Expertise

        Mr. Sheridan first proposes to impermissibly speculate about the Mango Markets protocol

designers’ intent. Specifically, he will opine that the protocols of open-source software “are

designed to, in some instances, enable conduct, and in others, prevent it.” (Expert Notice at 2.)

He goes on to opine that Mango Markets had no terms of service at the time of the defendant’s

scheme, even though that was “technically feasible,” and plans to detail changes to the Mango



                                                   5
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 11 of 31



`
Markets protocol after the scheme was complete. (Id.) This builds to his opinion that the

defendant’s trades “were not prohibited by the Mango Markets protocol.” (Id.)

       To begin, as explained in the Government’s motion in limine, the defense should not be

permitted to argue—through Mr. Sheridan’s testimony or otherwise—that market manipulation

and fraud are not crimes whenever they are technologically possible or not prohibited by terms of

service. The criminal laws protect people from market manipulation and fraud regardless of

whether privately designed computer codes and contracts do so. That market manipulation and

fraud were technologically feasible on Mango Markets, or that Mango Markets lacked terms of

service, therefore is not a defense to the charges in this case. (See Gov’t Motion, ECF No. 77, at

10-16.) In short, the designers of the Mango Markets protocols are not on trial.

       Nonetheless, even if the defense were to be permitted to make this argument, it should not

come in the form of expert testimony from Mr. Sheridan. First, the proposed opinions are

inadmissible testimony about what the Mango Markets developers intended. Mr. Sheridan’s

opinions about the Mango Markets protocol designers’ intent to “enable conduct,” and to allow

“parties [to] significantly overleverage transactions,” is outside of the scope of permissible expert

testimony. (Expert Notice at 2.) Experts are not permitted to testify “concerning the motive,

intent, and state of mind” of people or entities. Rezulin Prods., 309 F. Supp. 2d at 545. Such

testimony is inadmissible “[b]ecause science has not yet invented a way to read minds, ‘inferences

about the intent or motive of parties or others lie outside the bounds of expert testimony.’” AU

New Haven, LLC v. YKK Corp., No. 15 Civ. 3411 (GHW), 2019 WL 1254763, at *13 (S.D.N.Y.

Mar. 19, 2019) (quoting Rezulin Prods., 309 F. Supp. 2d at 547); accord In re Fosamax Prods.

Liability Litig., 645 F. Supp. 2d 164, 192 (S.D.N.Y. 2009) (finding that opinions about “intent,


                                                 6
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 12 of 31



`
motives, or state of mind . . . have no basis in any relevant body of knowledge or expertise”);

Deutsch v. Novartis Pharms. Corp., 768 F. Supp. 2d 420, 442-43 (E.D.N.Y. 2011) (same).

“Instead, juries must answer questions of intent with the lay tools that they always have:

examination of testimony and documents, and assessment of credibility.” AU New Haven, 2019

WL 1254763, at *14. Accordingly, Mr. Sheridan should not opine about the Mango Markets

protocol designers’ intent.

       Second, Mr. Sheridan has no expertise in Mango Markets’ systems and protocols, which

is another reason to exclude this testimony. Mr. Sheridan did not work at Mango Markets and has

no insight into the protocols’ design. Rather, Mr. Sheridan has read the Mango Markets protocols

and documents, and wishes to “propound a particular interpretation” of those documents, which is

“not justification for the admission of expert testimony.” LinkCo, Inc. v. Fujitsu Ltd., No. 00 Civ.

7242 (SAS), 2002 WL 1585551, at *2 (S.D.N.Y. July 16, 2002) (internal citation omitted). Mr.

Sheridan’s opinion—based on his background and document review—is not expert testimony.

       In the same way, Mr. Sheridan’s opinion that Mango Markets protocols were designed to

allow parties to “significantly overleverage transactions,” Expert Notice at 2, is also not reliable

under Rule 702. Mr. Sheridan does not set forth any criteria, let alone a reliable one, for claiming

that transactions were “overleverage[d],” or “significantly overleverage[d].” This is just Mr.

Sheridan’s gloss on a fact about the Mango Markets protocol and not expert analysis.

       These restrictions on Mr. Sheridan’s proposed testimony are particularly relevant because

the best source for information about Mango Markets protocols is a witness from Mango Markets,

and any such expert testimony would be duplicative. See United States v. Newkirk, 684 F. App’x

95, 97 (2d Cir. 2017) (“In these circumstances, the district court acted well within its discretion in


                                                  7
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 13 of 31



`
concluding that other witnesses with financial backgrounds were competent to explain the

transactions and related terminology presented by the case.”); United States v. Mendlowitz, No. 17

Cr. 248 (VSB), 2019 WL 6977120, at *7 (S.D.N.Y. Dec. 20, 2019) (“Because many of these

witnesses had prior experience working for credit card processors or had knowledge generally

about the industry because of their work history, there was no need for expert testimony related to

industry practice. In any event, even if such testimony were appropriately the subject for expert

testimony, [the expert’s] testimony would have been duplicative of the lay witnesses called during

the trial.”); Fujitsu, 2002 WL 1585551 at *2. The Government intends to call such a witness, so

generalized expert testimony is unnecessary.

       In short, this proposed expert testimony is impermissible twice over. An expert may not

provide his own narrative gloss on the facts of a case. See In re Elysium Health-ChromaDex Litig.,

No. 17 Civ. 7394 (LJL), 2022 WL 421135, at *29 (S.D.N.Y. Feb. 11, 2022) (collecting cases).

And the gloss that Mr. Sheridan intends to provide, for example, by characterizing the design as

allowing transactions that were “significantly overleverage[d],” impermissibly goes to the Mango

Markets protocol designers’ intentions and states of mind. (Expert Notice at 2.)

       B.      Opinions about Whether the Defendant’s Trades Were “Prohibited” or
               Constituted a “Code Violation,” Are Irrelevant, Inadmissible, and Not
               Properly Expert Testimony

       Although the defense has represented that it “is not asserting a so-called ‘code is law’

defense,” Def. Opp., Dkt. No. 79 at 9, the defense’s Expert Notice previews that Mr. Sheridan will

do just that. Mr. Sheridan intends to opine that “the trades allegedly executed by Mr. Eisenberg

were not prohibited by the Mango Markets protocol” and that Mango Markets could have had

terms of service, but did not. (Expert Notice at 2.) He states that the defendant’s trading was not


                                                8
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 14 of 31



`
a “Code Violation,” and “required no manipulation of the Mango Markets or Solana Code.” (Id.

at 3.) Mr. Sheridan also intends to opine that Mango Markets did not have terms of service at the

time of the defendant’s scheme. (Id. at 2.) Those opinions are irrelevant and unfairly prejudicial.

       First, as discussed, that market manipulation and fraud were technologically feasible on

Mango Markets, or that Mango Markets lacked terms of service, is not a defense. See, e.g., SEC

v. Vali Management Partners, No. 21-453, 2022 WL 2155094, at *1 (2d Cir. 2022) (holding that

“open-market transactions that are not inherently manipulative may constitute manipulative

activity when accompanied by manipulative intent” (internal bracket, quotation marks, and citation

omitted)). These open-market trades are, of course, technologically feasible, and the Second

Circuit has never required a showing that any terms of service prohibited the conduct at issue.

       Moreover, the defendant is not charged in this case with manipulating the Mango Markets

code. See, e.g., 18 U.S.C. § 1030(a)(2) (“Whoever . . . intentionally accesses a computer without

authorization or exceeds authorized access . . . .”).      Indeed, the defendant concedes that

“technological feasibility alone is not a defense” and represents that “the defense has not and will

not argue that the jury must acquit Mr. Eisenberg solely because his conduct complied with Mango

Markets’ rules.” (Dkt. 79 at 10.) Accordingly, the defense should not be permitted to present

concededly improper arguments through expert opinions that the trades were not “prohibited,” was

not a “[c]ode [v]iolation,” or that there were no terms of service. (Expert Notice at 2-4.)

       Second, Mr. Sheridan’s proposed testimony implies a legal conclusion that he is not

qualified or permitted to give. The point of Mr. Sheridan’s proposed opinion is to excuse the

defendant’s behavior as legal because it was “not prohibited” on the protocol or by the terms of

service and not a code violation. That is not only wrong, as discussed above, but also inadmissible.


                                                 9
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 15 of 31



`
United States v. Bilzerian, 926 F.2d 1285, 1294 (2d Cir. 1991) (“As a general rule an expert’s

testimony on issues of law is inadmissible.”). The Second Circuit has held that such expert

testimony should be excluded. See, e.g., Red Rock Commodities, Ltd. v. Standard Chartered Bank,

140 F.3d 420, 423-24 (2d Cir. 1998); Hygh v. Jacobs, 961 F.2d 359, 363-64 (2d Cir. 1992). Indeed,

“[t]he rule prohibiting experts from providing their legal opinions or conclusions is so well-

established that it is often deemed a basic premise or assumption of evidence law—a kind of

axiomatic principle.” In re Initial Pub. Offering Sec. Litig., 174 F. Supp. 2d 61, 64 (S.D.N.Y.

2001). Mr. Sheridan’s proposed testimony violates that principle. Whether the defendant’s

scheme was “prohibited” is a legal question that requires the jury to apply the facts to the law.

       Third, testimony that the defendant complied with the Mango Markets protocol and did not

“alter[]” the code is inadmissible under Rules 401 and 403 because it is irrelevant and confusing.

The defendant is not charged with violating or altering the Mango Markets protocol or the Mango

Markets terms of service, so measuring his conduct against those standards is not relevant. Mr.

Sheridan’s testimony, offered by an “expert” with no expertise in Mango Markets or its terms of

service, would have little probative value and yet would muddle the issues for the jurors, who will

be confused about whether, and how, the protocols and terms of service intersect with the law.

       Finally, a separate basis to exclude this opinion is that it is not expert testimony under Rule

702. In essence, Mr. Sheridan plans to read excerpts from publicly available documents in

evidence and observe that there are no terms of service. This is lay testimony that does not require

any expertise. Indeed, a paralegal or an employee from Mango Markets could offer this same

analysis—it should not be introduced through an expert. Further still, Mr. Sheridan’s testimony

presents an acute risk of jury confusion under Rule 403 because of his background in law


                                                 10
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 16 of 31



`
enforcement. If allowed to offer these opinions, a jury may interpret Mr. Sheridan, as an expert

and former law enforcement officer, as offering an opinion that the trades were not illegal simply

because there was no terms of service.

       Mr. Sheridan’s proposed testimony is an effort to put before the jury the defense’s

judgment about the ultimate issues in this case in the guise of expert evidence. That is not allowed;

it is not an expert’s role to substitute his “judgment for the jury’s.” Rezulin Prods., 309 F. Supp.

2d at 541 n.23; see also Fed. R. Evid. 704(b).

       C.      Testimony about the Defendant’s “Strategic Utilization of Market
               Mechanics” Is Impermissible State-of Mind Testimony

       Mr. Sheridan’s proposed testimony about the defendant’s motives is not allowed under

Rule 702 or 704. Indeed, Mr. Sheridan proposes to describe a theory of “Strategic Utilization of

Market Mechanics without Code Violation,” and to state that the defendant’s trading

“highlight[ed] systematic vulnerabilities such as oracle weaknesses and low liquidity token risks.”

(Expert Notice at 3.) The point of this testimony is to cast Eisenberg as having benign intentions

to bring attention to a flaw in the Mango Markets code, rather than criminal intent to steal.

       Each step of this testimony runs afoul of the rule that experts cannot testify about a person’s

intent or motives, including the “intent or motives underlying . . . certain business transactions.”

Rezulin Prods., 309 F. Supp. 2d at 546. Mr. Sheridan is attempting to step into the jury’s shoes

and draw a conclusion about the defendant’s intention—a subject about which he has no expertise.

Mr. Sheridan is not an expert in the defendant’s trading strategy, and he is not qualified to say that

the defendant intended to highlight “vulnerabilities” in the Mango Markets code, rather than reap

a $110 million payday. Claiming to know the defendant’s “strateg[y]” is the same thing as

claiming to know what was in the defendant’s head, an area that is outside Mr. Sheridan’s

                                                 11
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 17 of 31



`
knowledge and expertise. Fosamax Prods., 645 F. Supp. 2d at 192 (remarking that the expert did

not have “the ability to read minds”).

       Mr. Sheridan’s opinion, which amounts to recasting the defendant as a hero who

“highlight[ed] systemic vulnerabilities,” is unreliable because it does not account for Mango

Markets’ bug bounty process whereby Mango Markets offered bounties for “responsible disclosure

of potential vulnerabilities,” see Expert Notice at 4-5, which capped payments to bug reporters

well south of what the defendant stole from Mango Markets. The defendant did not use this bug

bounty protocol because he was not seeking to alert Mango Markets to vulnerabilities, as Mr.

Sheridan opines—rather, the defendant exploited Mango Markets to the tune of $110 million.

       And even if Mr. Sheridan had the ability to make such a judgment about the defendant’s

intentions, Rule 704 would bar him from doing so. Such testimony would be an opinion about

whether the defendant’s intent was to manipulate the market or to achieve some other goal, which

“constitutes an element of the crime charged [and] a defense.” Fed. R. Evid. 704(b). In other

words, this is testimony about “whether the defendant did or did not have a mental state . . . that

constitutes an element of the crime charged or of a defense,” and so is prohibited not only by Rule

702, but also by Rule 704(b). A defendant may not “tell the jury [his] intentions through the

mouth[] of” an expert witness. United States v. Rahman, 189 F.3d 88, 136 (2d Cir. 1999).

       D.      Mr. Sheridan’s Irrelevant Victim Blaming Is Impermissible

       Mr. Sheridan next proposes to read certain documents into the record to shift blame from

the defendant to Mango Markets. Mr. Sheridan plans to conduct a “Terms of Service Analysis,”

review a security audit conducted by a third party, and review Mango Markets’ Litepaper. (Expert

Notice at 4-5.) None of this is the proper subject of expert testimony, but it builds to further


                                                12
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 18 of 31



`
impermissible and irrelevant opinions about Mango Markets’ “Lack of Risk Management and

Governance Frameworks.” (Id. at 5.) Such blame-the-victim tactics should be precluded.

       To start, Mr. Sheridan’s reading of the terms of service, Mango Markets Litepaper, and the

third-party security audit are inadmissible under Rule 702 because it is not expert testimony. Mr.

Sheridan has no expertise in Mango Markets’ protocol, terms of service, or the audit. As discussed,

Mr. Sheridan is reviewing documents and then “propound[ing] a particular interpretation.”

Fujitsu, 2002 WL 1585551, at *2. This is not expert testimony and should be precluded.

       For example, Mr. Sheridan’s comparison of a third-party audit to Mango Markets Litepaper

is irrelevant. Mr. Sheridan claims that Neodyme AG conducted a security audit that “failed to

address the risks discussed in Mango Markets’ documentation,” such as the socialization of losses,

oracle error, illiquid deposits, and smart contract exploit. (Expert Notice at 4-5.) This comparison

is irrelevant. What the third-party review of the Mango Markets protocol found, let alone that it

did not mention certain risks that are mentioned in Mango Markets’ Litepaper, has no relevance.

       Although it is not clear from the Expert Notice what issue this testimony relates to, the

apparent upshot is that the defendant’s $110 million exploit was Mango Market’s fault for not

having better protocols, terms of service, or risk management. This is inadmissible under Rules

401 and 403 because blaming the victim is not a defense to the charged crimes. See, e.g., United

States v. James, 607 F. Supp. 3d 246, 255 (E.D.N.Y. 2022) (“[A] defendant may not advance a

‘blame the victim’ defense.”). Indeed, the Second Circuit has repeatedly recognized that “a

victim’s negligence is not a defense under the federal fraud statutes.” United States v. Frenkel,

682 F. App’x 20, 22 (2d Cir. 2017). That is because, among other things, “reliance is not an

element of criminal fraud.” United States v. Weaver, 860 F.3d 90, 96 (2d Cir. 2017).


                                                13
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 19 of 31



`
       For example, in a case involving a mortgage fraud scheme, it was no defense that the victim

lender “could have discovered based on external sources that the representation [in the loan

application] was false,” because the victim’s “lack of sophistication is not relevant to the intent

element of mail or wire fraud.” United States v. Amico, 486 F.3d 764, 780 (2d Cir. 2007); see also

United States v. Isola, 548 F. App’x 723, 725 (2d Cir. 2013) (finding lender’s negligence also

“irrelevant to the materiality of [the defendant’s] false statements”). And in a prosecution for

inducement of travel for a fraudulent purpose, the Second Circuit affirmed the district court’s

decision to restrict cross-examination into the victim’s “vigilance (or lack thereof)” in his dealings

with the defendant, firmly “reject[ing] [the defendant’s] argument that the foolishness of [the

victim’s] belief in [the defendant’s] fraudulent scheme somehow vitiates [the defendant’s]

fraudulent intent.” United States v. Thomas, 377 F.3d 232, 241, 243 (2d Cir. 2004).

       These principles also have been applied to other fraud prosecutions. See, e.g., United States

v. Udeokoro, No. 17 Cr. 629 (AMD), 2023 WL 4138477, at *7 (E.D.N.Y. June 22, 2023) (“The

first argument is a variation of the defense that courts have rejected—that the IPAs had some

obligation to catch the defendants in the act of misrepresenting the kind of equipment for which

they sought reimbursement, and that their failure to do so absolved the defendants from criminal

liability.”); United States v. Ahmed, No. 14 Cr. 277 (DLI), 2016 WL 8732355, at *4 (E.D.N.Y.

June 24, 2016) (“Defendant may not argue that he did not intend to defraud Medicare because

Medicare paid his claims, negligently or otherwise.”); United States v. Lesniewski, No. 11 Cr. 1091

(VM), 2013 WL 3776235, at *2 (S.D.N.Y. July 12, 2013) (“[A]ny evidence proffered by

Defendants for the purpose of establishing that the [United States Railroad Board] was negligent

or careless would be irrelevant to the inquiry of whether they possessed the requisite intent to


                                                 14
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 20 of 31



`
commit the fraud at issue in this case”), aff’d sum nom United States v. Rutigliano, 614 F. App’x

542 (2d Cir. 2015); United States v. Nekritin, No. 10 Cr. 491 (KAM), 2011 WL 2462744, at *7

(E.D.N.Y. June 17, 2011) (precluding defense from “arguing or presenting evidence that Medicare

and Medicaid’s payment of their claims is a defense to health care fraud”).

       No clearer is this impermissible victim blaming tactic than in Mr. Sheridan’s purported

opinion that “Mango Markets was warned of the possibility of a trade similar to those alleged in

this case in March 2022 and ignored it.” (Expert Notice at 5.) Mr. Sheridan relies on a blog post

that appears to have been published the day after the defendant’s attack and that contains a

screenshot of messages of an unidentified user identifying a potential issue if someone

“manipulated prices and opens a huge long/short against themselves.” See “Decoding Mango’s

Vulnerability,"      NEPTUNE        MUTUAL         (Oct.      12,      2022),       available      at

https://neptunemutual.com/blog/decoding-mangos-vulnerability/ (cited in Expert Notice at 5). As

an initial matter, and as discussed, Mr. Sheridan cannot be a vehicle for otherwise inadmissible

evidence about the mental state and knowledge of the Mango Markets protocol designers. Experts

are not permitted to testify “concerning the motive, intent, and state of mind” of people or entities.

Rezulin Prods., 309 F. Supp. 2d at 545. These opinions are also unreliable and inadmissible under

Rules 401 and 403. As to reliability, Mr. Sheridan has no basis to opine on the knowledge of

Mango Markets protocol designers. This is just Mr. Sheridan’s say-so and should be precluded.

       But, more fundamentally, it does not matter if Mango Markets was aware that someone

could potentially commit fraud and market manipulation before the defendant committed fraud

and market manipulation. It is the actions and intentions of the defendant that are at issue at this




                                                 15
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 21 of 31



`
trial, not those of Mango Markets. This testimony, then, has no evidentiary value, and is an

invitation for the jury to decide the case on an impermissible “blame-the-victim” theory.

       At bottom, Mr. Sheridan is not a proper vehicle to discuss these documents. If Mr. Sheridan

is going to read these documents into the record, that is not proper expert testimony and can be

accomplished through a lay witness. If instead, he intends to provide his own blame-the-victim

gloss, that is improper and irrelevant, and he is doing so without foundation. Here, where the

purported expert is a former law enforcement officer, there is a danger of having him suggest that

this conduct was legal because it was not prohibited by terms of service. Mr. Sheridan’s proposed

testimony is a closing argument masquerading as an expert’s opinions and should be precluded.

    II. THE COURT SHOULD EXCLUDE DR. MONTGOMERY’S PROPOSED
          TESTIMONY.
       Dr. Montgomery’s testimony seeks to replace the Court’s instructions with his own, and to

step into the jury box to give an opinion on whether the defendant created an artificial price. All

the while, Dr. Montgomery fails to show his work or offer any analysis, let alone the reliable

analysis required under Rule 702. This testimony should be precluded.

       A.      Testimony About “Conventional” Futures and Swaps Is Irrelevant and
               Impermissible

       Dr. Montgomery’s first improper opinion attempts to introduce to the jury his own

definition of a legal term—“conventional” swap—and invite the jury to measure the MNGO

Perpetual against his definition. Dr. Montgomery plans to testify about “conventional futures and

swaps contracts” as well “traditional” swaps and compare them to the “perpetual futures offered

on Mango Markets.” (Expert Disclosure at 7.) This opinion, which usurps the Court’s role to




                                                16
          Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 22 of 31



`
instruct the jury on the definition of a swap, and the jury’s role to apply that legal instruction to

the facts, is unreliable, and should be excluded under Rules 702 and 403.

        A principle underlying Rule 702 is that it is the court’s job to instruct the jury

on the law, and the jury’s job to apply the facts to that law. Lumpkin, 192 F.3d at 290. Dr.

Montgomery’s proposed testimony intrudes on those tasks. This Court will instruct the jury on

the legal meaning of “swap” and when a scheme is in connection with a swap. Dr. Montgomery,

however, sets his own definition of a “conventional” or “traditional” swap. See Hygh, 961 F.2d at

364 (an expert’s testimony defining “deadly physical force” was inappropriate because an expert

may not communicate “a legal standard—explicit or implicit—to the jury”); accord Marx & Co.,

Inc. v. Diners’ Club Inc., 550 F.2d 505, 509-10 (2d Cir. 1977). That is improper.

        This opinion is also unreliable. Dr. Montgomery provides no basis to conclude that his

understanding of “conventional” or “traditional” swaps tracks the legal meaning of swaps. This

creates a significant risk that not only will Dr. Montgomery’s opinion intrude on the Court’s role

instructing the jury, but it will also conflict with the role, confusing the jury.

        In the same way, it is the jury’s job to decide whether the MNGO Perpetuals in this case

are “swaps.” See United States v. Scop, 846 F.2d 135, 140 (2d Cir. 1988) (holding that it was

improper for an expert witness to draw “directly upon the language of the statute” because it

supplanted the role of the jury). But Dr. Montgomery takes that on, too, proposing to opine that

MNGO Perpetuals “differ[ed]” from “conventional” swaps. Lumpkin, 192 F.3d at 289 (holding

that the jury must “apply[] th[e] law to the facts before it”) (internal citation omitted).

        In United States v. Chastain, Judge Furman precluded expert testimony that similarly tried

to provide an expert-generated definition of a legal term and set up a false comparison: “[The


                                                   17
          Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 23 of 31



`
expert] may not testify about how ‘confidential (or more precisely, proprietary) business

information’ is understood ‘in the academic literature’ or whether the information at issue here

qualifies.” No. 22 Cr. 305 (JMF), 2023 WL 2966643, at *9 (S.D.N.Y. Apr. 17, 2023). This

opinion was improper because, it “not only intrudes on the role of the Court and jury, but also

suffers from a relevance problem. Put simply, how ‘confidential business information’ is

understood in the academic literature is utterly irrelevant. ‘Confidential business information’ is a

legal term of art and will be defined by the Court in its instructions to the jury.” Id. at *9 n.5. Just

as in Chastain, both aspects of Dr. Montgomery’s proposed testimony overstep the bounds of

permissible expert testimony, and should be excluded.

        B.      Testimony About the “Artificiality” of Mango Perpetual Prices and
                “Fundamental Value” of MNGO Usurps the Jury’s Role and Is
                Impermissible

        In his most plainly improper opinion, Dr. Montgomery plans to explain that the price of

MNGO Perpetuals at the time of the defendant’s alleged training was “not artificial.” (Expert

Notice at 7.) Dr. Montgomery aims to opine that because MNGO is thin and illiquid, “current

trading price may not accurately reflect a fundamental value.” (Id. at 8.) These opinions, which

take the case from the court and the jury should be excluded under Rules 702 and 403.




                                                  18
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 24 of 31



`
       These opinions should be excluded because it usurps the Court’s role “in instructing the

jury as to the applicable law” and the jury’s role “in applying that law to the facts before it.”

Lumpkin, 192 F.3d at 289. The meaning of the terms “artificial” as well as the relevance of those

concepts, are legal questions the Court will answer in its jury charge. Dr. Montgomery has no

expertise in this legal concept, and even if he did, he would not be able to opine on the topic

because “testimony on issues of law is inadmissible.” Bilzerian, 926 F.2d at 1294.

       Dr. Montgomery’s opinion is further problematic because his notice does not define what

he means by “artificial.” This is reason alone to exclude his opinion. To the extent there is any

difference between Dr. Montgomery’s understanding of the term and the legal definitions, his

opinion will not be relevant and will present substantial “danger[] of confusing or misleading the

jury.” Chastain, 2023 WL 2966643, at *9.

       The substance of Dr. Montgomery’s opinion is improper because it addresses the

defendant’s intent and is unreliable. First, whether a price has been set by the natural interplay of

supply and demand or has been artificially impacted depends on the trader’s intent—this is

established by cases holding that open-market trades—which involve real trades and real

counterparties—can be manipulative when accompanied by manipulative intent. See, e.g., Vali,

2022 WL 2155094, at *1; Set Capital LLC v. Credit Suisse Group AG, 996 F.3d 64, 77 (2d Cir.

2021) (same); see also, e.g., Gurary v. Winehouse, 190 F.3d 37, 45 (2d Cir. 1999) (“The gravamen

of manipulation is deception of investors into believing that prices at which they purchase and sell

securities are determined by the natural interplay of supply and demand, not rigged by

manipulators.”). Therefore, Dr. Montgomery cannot testify about whether a price was “artificial,”

without implying that the defendant had no manipulative intent. And an opinion about the


                                                 19
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 25 of 31



`
defendant’s intent is strictly barred by Rule 704(b).

       Second, and equally problematic, Dr. Montgomery’s notice does not provide any

explanation for how he can opine that the price of MNGO Perpetuals was not artificial on October

11, 2022. The Expert Notice does not outline that Dr. Montgomery has done any analysis to show

that the price was not artificial, let alone a reliable analysis as required under Rule 702. Rule 702

requires that expert testimony be “the product of reliable principles and methods” that are “reliably

applied . . . to the facts of the case.” Courts should not “admit opinion evidence that is connected

to [the facts] only by the ipse dixit of the expert.” Joiner, 522 U.S. at 146. Dr. Montgomery,

however, has not done anything to reliably analyze the price of MNGO Perpetuals in a manner

that is relevant to this case. Most glaringly, there is no information in Dr. Montgomery’s notice

about the supposed “analysis” he performed on the MNGO Perpetuals pricing. His say-so is not

sufficient, and the opinion should be excluded on that basis as well.

       Further still, Dr. Montgomery does not describe how his analysis accounts for the drastic

increase in the price of MNGO Perpetuals on October 11, 2022 due to the defendant’s trading.

See, e.g., Lamarr-Arruz v. CVS Pharmacy, Inc., No. 15 Civ. 4261 (JGK), 2017 WL 4277188, at

*10 (S.D.N.Y. Sept. 26, 2017) (“To be reliable, a data analysis must account for major variables,

including confounding variables.”); Reed Constr. Data v. McGraw-Hill Co., 49 F. Supp. 3d 385,

400 (S.D.N.Y. 2014) (holding that analysis “must control for the ‘major factors’ that might

influence the dependent variable”); see also Bickerstaff v. Vassar College, 196 F.3d 435, 448-50

(2d Cir. 1999) (rejecting analysis that “failed to account for . . . major factors”); Wills v. Merada

Hess Corp., 379 F.3d 32, 50 (2d Cir. 2004) (same). That is not a reliable opinion, and Dr.

Montgomery should not be allowed to present it to the jury.


                                                 20
          Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 26 of 31



`
       In addition to offering his opinion on the ultimate question of price artificiality, Dr.

Montgomery proposes testifying about another undefined term—“fundamental value”—without

any apparent relevance. Dr. Montgomery does not explain what “fundamental value” is or how

this concept or his opinion on it will help the trier of fact to understand the evidence or to determine

a fact in issue, but nonetheless intends to opine that because MNGO was a thinly traded token, its

“trading price may not accurately reflect a fundamental value.” (Expert Notice at 8.) This opinion

does not relate to any fact at issue in the case and is highly likely to confuse or mislead the jury.

       Indeed, the question for the jury on the swap manipulation count is whether the defendant

intended to cause an artificial price of a swap. The Expert Notice does not explain why the concept

of “fundamental value” has any bearing on that issue. (Expert Notice at 8.) It does not explain

why the jury needs to understand why a “current trading price may not accurately reflect a

fundamental value.” Id. This opinion should be excluded on that ground alone. Rule 702 requires

the proponent of expert testimony to show a reliable connection between the opinion and the facts

of the case, rather merely rely on the “ipse dixit of the expert,” Joiner, 522 U.S. at 146.

       There is nothing to connect this proposed opinion to the case. Factually, the opinion that

“the current trading price may not accurately reflect a fundamental value” of the MNGO token

makes little sense in the context of this case which alleges the defendant caused an artificial price

of the MNGO Perpetual. What is more, allowing Dr. Montgomery to offer this opinion about

“accurately reflect[ing] a fundamental value” carries a substantial risk of confusing or misleading

the jury. It might cause them incorrectly to believe that to be artificial, a price must be compared

against “fundamental value,” whatever that means. The Court, not Dr. Montgomery, will instruct

the jury on what constitutes an artificial price and how to determine whether a price is artificial.


                                                  21
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 27 of 31



`
       Finally, and in the same way that Dr. Montgomery has not outlined any analysis to offer

an opinion on “artificiality,” Dr. Montgomery does not show that he did any work to opine that

MNGO is “thin” or “illiquid,” let alone the reliable analysis required by Rule 702.             Dr.

Montgomery does not, for example, explain how he knows that MNGO is thinly traded, when a

token is traded thinly enough to “not accurately reflect a fundamental value,” whether he

determined if MNGO had a “fundamental value” at times,” or whether the value was not

“fundamental” because of thin trading. Instead, Dr. Montgomery just is relying on his own say-

so. This is yet another reason to exclude this opinion.

       C.      Testimony About the Intent of Traders in Financial Markets to Conceal
               Their Trading Strategies Is Impermissible

       Dr. Montgomery’s proposed opinions regarding the intentions and strategies of financial

market traders also should be excluded for improperly providing state-of-mind testimony. The

defendant proposes that Dr. Montgomery testify that “it is typical for traders in financial markets

to attempt to conceal their trading intentions and strategies from other participants in those

markets.”   (Expert Notice at 8).     As discussed above, experts are not permitted to testify

“concerning the motive, intent, and state of mind” of people or entities. Rezulin Prods., 309 F.

Supp. 2d at 545. Dr. Montgomery also is not an expert on the motivations and expectations of

traders in financial markets—those market participants are not homogenous, and may have

idiosyncratic reasons for doing things. Dr. Montgomery cannot reliably testify on those topics.

       Furthermore, Dr. Montgomery’s proposed opinion about the state of mind and intentions

of financial market traders is an attempt to have jurors draw an inference about the defendant’s

intentions and state of mind. His proposed opinion is a barely concealed attempt to testify that the

defendant was “attempt[ing] to conceal [his] trading intentions and strategies from other

                                                22
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 28 of 31



`
participants” because “[i]f information held by [the defendant] leaks to other market participants,

the profit opportunity [the defendant] had from the information may be lost as other market

participants cause the market quotes and prices to move.” (Expert Disclosure at 8.) As set forth

above, expert testimony about the defendant’s motive, intent, or state of mind is prohibited under

Rules 702 and 704 because it “does not aid the jury in making a decision, but rather attempts to

substitute the expert’s judgment for the jury’s.” Rezulin Prods., 309 F. Supp. 2d at 541 n.23; see

Fed. R. Evid. 702; Fed. R. Evid. 704(b).

       The proposed testimony about other market participants is also unreliable and inadmissible

under Rules 401 and 403. With respect to reliability, Dr. Montgomery’s disclosure reveals that he

reviewed records pertaining to the defendant and “his experience and research in the economics of

trading in financial markets.” (Expert Notice at 8.) To be clear, per his curriculum vitae, Dr.

Montgomery has no experience as a trader in financial markets, and notably, while he states that

his opinion is based on his research into the “economics of trading in financial markets,” he does

not claim to have studied the intentions and strategies of financial market traders. He has no basis

to opine about the actions and intentions of market participants. Moreover, the intentions of market

participants are irrelevant; the defendant’s actions and intentions are what matter.

       Dr. Montgomery’s proposed opinions are not designed to give general background to help

the jury, but rather to plant in the jurors’ minds ideas about the defendant’s intentions, motives,

and state of mind. A defendant’s state of mind is not a proper subject of expert testimony.

       D.      Testimony About Privately Issued U.S. Dollar-Denominated Instruments Is
               Confusing and Irrelevant

       In a final confusing and irrelevant opinion, Dr. Montgomery intends to opine that “many

U.S. dollar-denominated instruments considered part of the U.S. money supply are issued by

                                                 23
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 29 of 31



`
private entities,” so “[i]ssuance by a private entity is therefore not a unique characteristic of

cryptocurrencies.” (Expert Notice at 8.) This opinion should be excluded because it is not relevant

to any fact at issue and is highly likely to confuse or mislead the jury.

       As this Court is aware from the motion to dismiss briefing, one issue for the jury in this

case is whether stablecoins, such as USDC, are commodities under the Commodities Exchange

Act. Dr. Montgomery’s proposed opinion seems to suggest the contorted line of reasoning that, if

things the Federal Reserve “consider[s] part of the U.S. money supply are issued by private

entities,” then stablecoins such as USDC are not commodities, but rather akin to something like

“customer deposits at banks.” (Id.)

       This opinion should not go before the jury. For one, whether the Federal Reserve treats

some instruments that are “issued by private entities” as part of the U.S. money supply has no

relevance to any issue in the case. There is no legal reason why this point (even if it is true) makes

it more or less likely that stablecoins, such as USDC, constitute “rights [or] interests . . . in which

contracts for future delivery are presently or in the future dealt in” or “other goods and articles,”

and are therefore commodities under 7 U.S.C. § 1a(9). What the Federal Reserve uses to calculate

the money supply is an entirely unrelated issue.

       Moreover, it will be extremely misleading to the jury, and a lengthy distraction at trial, to

explore what the Federal Reserve treats as part of the money supply; whether certain things it treats

as part of the money supply are, in fact, “issued by private entities”; and what relevance that has

to any issue the jury will need to decide. Take each issue one at a time. Jurors are highly unlikely

to know what the money supply is, or why the Federal Reserve calculates it. Thus, even setting




                                                   24
         Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 30 of 31



`
the stage for Dr. Montgomery’s opinion (and explaining its irrelevance on cross examination) will

require a lengthy primer on monetary policy and the role of the Federal Reserve.

       Next, the parties will need to explore whether the Federal Reserve does, and does not, treat

certain privately issued instruments as part of the money supply. This is deeply complicated. For

example, it is not clear why it is correct to classify “customer deposits at banks” as a privately

issued instrument, as Dr. Montgomery claims. Even if that were a correct classification, unpacking

why those deposits are treated as part of the money supply, while other instruments are not, would

prompt a complicated deep dive into Federal Reserve policy. And that is only the beginning of

the problem: The parties would also need to explore why the Federal Reserve does not treat other

privately issued instruments—most notably, stablecoins like USDC—as part of the money supply,

as well as exploring the differences between stablecoins and customer deposits at banks.

       Finally, after all that, the Government would have to explain to the jury why this lengthy

detour into the intricacies of determining the money supply has nothing to do with any issue the

jury faces. This is highly prejudicial. The jury will naturally assume that, if an expert economist

is allowed to testify at length about something, it must be important. That would be misleading.

There is no legal reason why the fact that privately issued instruments may, or may not, be part of

the money supply is relevant to this case. The defense should not be permitted to send the jury on

this confusing, time consuming, and misleading detour through irrelevant issues.

                                        CONCLUSION

       For the reasons set forth above, the Government respectfully requests that the Court

exclude the defendant’s proposed expert testimony.




                                                25
       Case 1:23-cr-00010-AS Document 80 Filed 02/09/24 Page 31 of 31



`
                                   Respectfully submitted,

                                   DAMIAN WILLIAMS
                                   United States Attorney
                                   Southern District of New York


                             By:   /s/
Dated: New York, New York          Thomas Burnett
       February 9, 2024            Peter J. Davis
                                   Assistant United States Attorneys

                                   Tian Huang
                                   Special Assistant United States Attorney




                                     26
